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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    GWG Holdings, Inc., et al.,1                                   )      Case No. 22-90032 (MI)
                                                                   )
    Debtors.                                                       )      Jointly Administered
                                                                   )      Re: Docket No. 1061

          NOTICE OF HEARING ON ORDER TEMPORARILY SUSPENDING THE
         AUTHORITY OF THE BOARD OF DIRECTORS OF GWG HOLDINGS, INC.

       PLEASE TAKE NOTICE that on November 14, 2022, the Court entered the Order
Temporarily Suspending the Authority of the Board of Directors of GWG Holdings, Inc. [Docket
No. 1061] (the “Order”).

       PLEASE TAKE FURTHER NOTICE that pursuant to the Order, a hearing will be
conducted on November 17, 2022 at 1:30 p.m. (Prevailing Central Time), before Judge Marvin
Isgur. You may participate in the hearing either in person or via audio and video connection.

         PLEASE TAKE FURTHER NOTICE that audio connection will be by use of the Court’s
dial-in facility. You may access the facility at 832-917-1510. Once connected, you will be asked
to enter the conference room number. Judge Isgur’s conference room number is 954554. Video
communication will be by use of GoToMeeting platform. Connect via the free GoToMeeting
application or click the link on Judge Isgur’s home page. The meeting code is “JudgeIsgur”. Click
the settings icon in the upper right corner and enter your name under the personal information
setting.

        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made
electronically in advance of both electronic and in-person hearings. To make your appearance,
click the “Electronic Appearance” link on Judge Isgur’s home page. Select the case name,
complete the required fields and click “Submit” to complete your appearance.




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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
       Funding IV, LLC (2589); GWG DLP Funding VI, LLC (none); and GWG DLP Funding Holdings VI, LLC
       (none). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
       is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these
       Chapter 11 Cases is available at the website of the Debtors’ claims and noticing agent:
       https://donlinrecano.com/gwg.


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        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter
11 cases are available free of charge by (a) accessing the website maintained by DRC at
https://donlinrecano.com/gwg; (b) contacting DRC directly at 1-888-508-2507 or via email at
gwginfo@donlinrecano.com; or (c) for a nominal fee, accessing the PACER system on the Court’s
website at https://ecf.txs.uscourts.gov in accordance with the procedures and fees set forth therein


Houston, Texas
November 15, 2022

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                                                          Debtors in Possession




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                                   Certificate of Service

       I certify that on November 15, 2022, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                   /s/ Kristhy M. Peguero
                                                   Kristhy M. Peguero




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